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                IN THE UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

JILIN FOREST INDUSTRY JINQIAO                 )
 FLOORING GROUP CO., LTD.,                    )
                                              )
             Plaintiff-Appellee,              )
                                              )
      v.                                      )            2023-2245
                                              )
UNITED STATES,                                )
                                              )
             Defendant-Appellant.             )

      DEFENDANT-APPELLANT’S UNOPPOSED MOTION FOR AN
                    EXTENSION OF TIME

      Pursuant to Fed. R. App. P. 26(b), defendant-appellant, the United States,

respectfully requests that the Court grant an extension of time of 14 days, to and

including Thursday, January 18, 2024, within which to prepare and file defendant-

appellant’s brief. Defendant-appellant’s brief currently is due no later than January

4, 2024. We previously requested and received two extensions of time for this

purpose, each for 45 days. Counsel for defendant-appellant has contacted counsel

for plaintiff-appellee, who represented that plaintiff-appellee does not oppose this

request.

      There is good cause to grant this motion. First, a determination has not

yet been made whether to authorize this appeal. See 28 C.F.R. § 0.20. On

August 1, 2023, defendant-appellant filed a protective notice of appeal in the
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Court of International Trade and this Court docketed the case on August 7, 2023.

While the appeal consideration process within the Department of Justice is

ongoing, additional time is needed to complete and finalize this process.

      Second, additional time is needed to allow counsel for defendant-

appellant to prepare a draft brief, receive required input from Department of

Justice supervisory counsel, and to confer with agency counsel for the

Department of Commerce regarding the content of our opening brief, assuming

we obtain authorization to proceed with this appeal.

      Third, an extension of time is warranted given upcoming filings counsel

for defendant-appellant has in this Court. Counsel for defendant-appellant

anticipates devoting time in the next few weeks to drafting and filing a response

brief by January 5, 2024 in Moore v. McDonough, Fed. Cir. No. 23-1867, and to

drafting and filing a response brief by January 19, 2024 in Smith v. McDonough,

Fed. Cir. No. 23-1749.

      Fourth, although we understand that the press of business in other courts

is not necessarily cause for extension in this one, counsel for respondent requires

additional time to draft and complete a response brief given past and upcoming

deadlines in cases before the Court of Federal Claims. Counsel for respondent is

or has been required to: (1) file a pretrial brief in Silver State Land v. United

States, Fed. Cl. No. 2019-688, by December 22, 2023; (2) file a response and


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cross-motion for summary judgment in Baytos v. United States, Fed. Cl. No.

2021-1085, by November 6, 2023; (3) file a reply brief in Baytos v. United

States, Fed. Cl. No. 2021-1085, by January 12, 2024; and (4) file a motion to

dismiss in Judd v. United States, Fed. Cl. No. 2023-1834, by December 15,

2023.

        Accordingly, we respectfully request that the Court grant our motion for

an extension of time of 14 days, to and including January 18, 2024, within which

to file our opening brief.

                                        Respectfully submitted,

                                        BRIAN M. BOYNTON
                                        Principal Deputy Assistant Attorney General

                                        PATRICIA M. McCARTHY
                                        Director

                                        /s/ Tara K. Hogan
                                        TARA K. HOGAN
                                        Assistant Director

                                       /s/ Brendan D. Jordan
                                       BRENDAN D. JORDAN
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December 27, 2023                Attorneys for Respondent




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                      CERTIFICATE OF COMPLIANCE

      I certify that, pursuant to Fed. R. App. Procedure 32(g), this motion

complies with the type-volume limitation. This motion was prepared using

Microsoft Word, Times New Roman, 14-point font. In making this certification, I

have relied upon the word count function of the Microsoft Word software

application used to prepare this motion. According to the word count, this motion

contains 451 words.



                               /s/ Brendan D. Jordan




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               IN THE UNITED STATES COURT OF APPEALS
                       FOR THE FEDERAL CIRCUIT

JILIN FOREST INDUSTRY JINQIAO                )
 FLOORING GROUP CO., LTD.,                   )
                                             )
            Plaintiff-Appellee,              )
                                             )
     v.                                      )            2023-2245
                                             )
UNITED STATES,                               )
                                             )
            Defendant-Appellant.             )

              DECLARATION IN SUPPORT OF UNOPPOSED
                MOTION FOR AN EXTENSION OF TIME

      I, Brendan Jordan, state the following under the penalty of perjury:
      1.     I am a trial attorney with the United States Department of Justice,

Civil Division, Commercial Litigation Branch, Washington, D.C., and I am

counsel of record for defendant-appellant, United States, in this case.

      2.     Pursuant to Federal Circuit Rule 26(b)(3), I submit this declaration

explaining the good cause for seeking an extension of time.

      3.     Defendant-Appellant’s opening brief is currently due no later than

January 4, 2024.

      4.     We require a 14 day extension of time for three reasons. First, we

do not currently possess authority to prosecute this appeal. More time is needed

for the appeal consideration process to be completed within the Department of

Justice.


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       5.     Additional time is also needed to prepare a draft brief, receive

required input from Department of Justice supervisory counsel, and to confer

with agency counsel for the Department of Commerce regarding the content of

our opening brief.

       6.     The extension of time requested is also necessary because, among

other matters, I am, or have been, required to: (1) draft and file a response brief

by January 5, 2024 in Moore v. McDonough, Fed. Cir. No. 23-1867; (2) draft

and file a response brief by January 19, 2024 in Smith v. McDonough, Fed. Cir.

No. 23-1749; (3) draft and file a pretrial brief in Silver State Land v. United

States, Fed. Cl. No. 2019-688, by December 22, 2023; (4) draft and file a

response and cross-motion for summary judgment in Baytos v. United States,

Fed. Cl. No. 2021-1085, by November 6, 2023; (5) draft and file a reply brief in

Baytos v. United States, Fed. Cl. No. 2021-1085, by January 12, 2024; and (6)

draft and file a motion to dismiss in Judd v. United States, Fed. Cl. No. 2023-

1834, by December 15, 2023.

      6.     Because of these intervening responsibilities, I require additional time

to draft and finalize respondent’s brief, including mandatory supervisory review.

      7.     On December 27, 2023, counsel for plaintiff-appellee, Lizbeth

Levinson, informed me via email that plaintiff-appellee does not oppose this

requested extension of time.


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Executed on December 27, 2023



                                    /s/ Brendan D. Jordan

                                    BRENDAN D. JORDAN




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